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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                    8:02CR238
                                                )
       vs.                                      )                REPORT AND
                                                )              RECOMMENDATION
DONALD H. ASAY,                                 )
TERRY J. SAMOWITZ,                              )
GREGORY W. ENGER and                            )
DONALD A. HEIDEN,                               )
                                                )
                      Defendants.               )


       This matter is before the court on the defendants’ motion to dismiss (Filing No. 259).
In the motion, the defendants contend the Superseding Indictment (Filing No. 240) should be
dismissed for pre- and post-indictment delay and because such indictment fails to allege the
element of materiality, making it fatally defective. The defendants filed a brief (Filing No. 260)
in support of their motion. The government filed a brief (Filing No. 282) in opposition to the
motion.
       The court heard evidence and additional argument related to the motion on March 1-2,
2005. The transcript (295TR.) of the hearing was filed on March 10, 2005. See Filing No.
295. During the hearing Special Agent Laura J. Stewart (Special Agent Stewart) and
Professor Joseph P. Bauer (Professor Bauer) testified. The court received into evidence
Exhibits 1-18 from the government and Exhibits 100-119 from the defendants. See Filing No.
293. Additionally, the court took judicial notice of the transcript (208TR.) (Filing No. 208) from
a November 12, 2003 hearing in this case (295TR. 221).


                                       BACKGROUND
       The defendants are charged in an eighteen-count indictment with mail fraud in violation
of 18 U.S.C. §§ 1341 and 2 (Counts 1-15); wire fraud in violation of 18 U.S.C. §§ 1343 and
2 (Count 16); conspiracy to launder money in violation of 18 U.S.C. §§ 1956(h) and 2 (Count
17); and criminal forfeiture under 18 U.S.C. § 982 (Count 18). See Filing No. 240. The
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charges are based upon allegations the defendants fraudulently represented they were buying
for closed-door pharmacies, to purchase pharmaceuticals at a discounted rate, with the intent
to illegally divert pharmaceuticals to a wholesale market for higher profit. A closed-door
pharmacy is one which typically purchases pharmaceuticals at a discounted rate, below
wholesale rates, and dispenses to institutional clients such as hospital, prison or nursing home
patients, rather than to retail locations. See id. ¶¶ 3-4. The closed-door pharmacies only
receive the discounted rate if they certify, with an “own-use” certification, that the
pharmaceuticals are purchased for its own-use or will be dispensed only to patients in its
institutional locations. See id. ¶ 4. The closed-door pharmacies often join buying groups
whose business it is to negotiate contract prices with the pharmaceutical manufacturers. See
id. ¶ 5.


                                          ANALYSIS
A.         Pre-Indictment Delay
           The defendants contend the government’s delay in indicting them on the instant
charges violate their fifth amendment due process rights. “[A]n unreasonable pre-accusation
delay, coupled with prejudice to the defendant, may violate the Fifth Amendment.” United
States v. Grap, 368 F.3d 824, 829 (8th Cir. 2004) (quoting United States v. Jackson, 504
F.2d 337, 339 (8th Cir. 1974)); see also United States v. Marion, 404 U.S. 307, 324-26
(1971). To prevail on a claim that pre-indictment delay warrants dismissal of the indictment,
the defendants are required to show “both that the government deliberately delayed in order
to gain a tactical advantage and that the delay prejudiced [them] in presenting [their] case.”
Grap, 368 F.3d at 829 (quoting United States v. Carlson, 697 F.2d 231, 236 (8th Cir.
1983)).      Alleged prejudice is insufficient to establish a due process violation if it is
“insubstantial, speculative, or premature.” Id. Rather, the defendants must show they suffered
actual and substantial prejudiced by the delay. United States v. Sprouts, 282 F.3d 1037,
1041 (8th Cir. 2002). “To prove actual prejudice, the defendant must identify witnesses or
documents lost during the period of delay, and not merely make speculative or conclusory
claims of possible prejudice caused by the passage of time.” Id. A defendant fails to show
actual prejudice where he fails to relate the substance of a lost witness’s “testimony to show

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it would have been relevant or beneficial to his case, and fail[s] to identify any relevant
documents that were lost or misplaced or the information they contained.” United States v.
McDougal, 133 F.3d 1110, 1113 (8th Cir. 1998) (holding nine and one-half year delay did not
violate due process right where no showing of actual prejudice); see United States v.
Sturdy, 207 F.3d 448, 452 (8th Cir. 2000) (although potential witness was no longer an
employee, no evidence testimony would have supported defendant’s case or that testimony
was otherwise unavailable). The moving defendant also has the burden of showing that the
lost testimony or information is not available through other means. Sprouts, 282 F.3d at
1041.
        The conduct forming the basis for the indictment occurred from approximately February
4, 1997 until September 25, 1998. See Filing No. 240 (Superceding Indictment). The initial
indictment in this case was returned on August 22, 2002. See Filing No. 1. The defendants
argue the nearly four-year delay to indict is based on an attempt to gain a tactical advantage
because 1) there is no reason for the delay and 2) the government is simultaneously
prosecuting pharmaceutical companies based on legal positions, which are inconsistent with
the legal theories in this case. The defendants also argue their defense is seriously impaired
because the passage of time has caused the loss of documents and witnesses. The
defendants state they believe the documents, which may have been destroyed or lost, and the
witnesses, who no longer work for the companies involved, “would have supported their
defense that the ‘own use’ representations made no difference to the manufacturer’s
willingness to enter into contracts with the defendants’ pharmacies, and had no effect on the
price at which the drugs were ultimately offered to the defendants.”
        In support of the motion, the defendants presented evidence of affidavits from various
pharmaceutical companies. See Exhibits 106-110. The affidavits were originally presented
to oppose subpoenas for documents served by the defendants. The affidavits describe the
difficulty or inability of the affiants to comply with the subpoenas based on the passage of time,
change in circumstances and privacy or confidentiality issues raised by the nature of
documents sought. On March 9, 2004, the court entered an order granting, in part, and
denying, in part, several motions to quash filed by the subpoenaed pharmaceutical


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companies. See Filing No. 213 (aff’d on appeal by Filing No. 237). In the order, the court
noted the companies’ agreement to provide certain pricing information pursuant to protective
orders or the companies were compelled to comply with the subpoenas’ requests. Id.
       The government contends the defendants cannot show actual prejudice because they
have failed to identify specific documents or witness testimony which has been lost.
Additionally, the government argues the defendants cannot show the delay was intentional.
The government states the investigation into the defendants’ activities continued well beyond
the time period alleged in the indictment. Further, the government states it is unlikely the
prosecuting attorney even knew about the prosecution against the pharmaceutical companies.
Finally, the government contends there is no evidence of a tactical gain due to the delay or any
intention to harass the defendants.
       The court finds the defendants have failed to show how any of the unaccounted for
documents or witnesses “would have supported their defense that the ‘own use’
representations made no difference to the manufacturer’s willingness to enter into contracts
with the defendants’ pharmacies, and had no effect on the price at which the drugs were
ultimately offered to the defendants.” Further, the defendants have failed to show the lost
evidence is not otherwise available. The defendants do have access to pricing information
and witnesses to support their claims.
       Because the defendants have not carried their burden to show the preindictment delay
actually prejudiced the defense, the court need not assess the government’s rationale for the
delay. Sprouts, 282 F.3d at 1041. Notwithstanding the failure to show actual prejudice, the
court finds the defendants failed to show the government deliberately delayed the indictment
in order to gain a tactical advantage. The evidence presented at the hearing showed the
investigation of the matter continued through 2002, even though Special Agent Stewart had
gathered evidence of the alleged criminal activity in 1998 and 1999 (TR. 59-60, 148-149).
Further, any delay caused by waiting for the resolution of a similar criminal matter did not
tactically advantage the government, but prevented filing of a potentially legally unwarranted
charge. Therefore, the defendants’ motion to dismiss based on a due process violation
through preindictment delay should be denied.


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B.     Speedy Trial
       “[T]he Sixth Amendment right to a speedy trial attaches at the time of arrest or
indictment, whichever comes first, and continues until the trial commences,” and no Sixth
Amendment right to a speedy trial arises until charges are pending. Sprouts, 282 F.3d at
1042 (citation omitted). The Supreme Court identified four factors to consider when applying
a Sixth Amendment balancing test to a pretrial delay: the length of delay, the reason for delay,
whether the defendant asserted the right to a speedy trial, and whether the defendant suffered
any prejudice. Barker v. Wingo, 407 U.S. 514, 530 (1972).
       The initial indictment in this matter was filed on August 22, 2002, and trial has not yet
commenced. See Filing No. 1. The defendants contend that an excess of two-year pre-trial
delay is uncommonly long and has prejudiced their defense. Further, the defendants argue
the government is to blame for the lengthy delay due to failure to timely submit discovery and
delay caused by the recusal of more than one federal judge from the case. In either event, the
defendants assert they should not be held responsible for the delays.
       The delay in this case, approaching three years, meets the threshold for presumptively
prejudicial delay requiring a speedy trial inquiry. See Doggett v. United States, 505 U.S.
647, 652 n.1 (1992); United States v. Walker, 92 F.3d 714, 717 (8th Cir. 1996) (37 month
delay presumptively prejudicial). Thus, the length of delay triggers the remainder of the
speedy trial analysis and the length of delay is weighed with the remaining factors to
determine whether a violation occurred.
       The court finds the length of delay in this case weighs in favor of the defendants.
However, the defendants did not assert their right to a speedy trial until the filing of their motion
to dismiss in December 2004. Therefore, the defendants’ delay in asserting the right weighs
against the defendants.
       The court will evaluate the second and fourth factors together since the reason for the
delay and prejudice caused by the delay are related. The second Barker factor involves
determining who is responsible for the delay, the defendant or the government. Doggett, 505
U.S. at 652. Any intentional delay by the government will weigh heavily against it. Barker, 407
U.S. at 531. However, negligence will be weighted less heavily against the government but


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is still a considerable factor in the weighing process. Id.; see also Doggett, 505 U.S. at
652-53.
        The final factor is prejudice to the defendants. The Supreme Court has identified three
interests to evaluate prejudice: “(i) to prevent oppressive pretrial incarceration; (ii) to minimize
anxiety and concern of the accused; and (iii) to limit the possibility that the defense will be
impaired.” Barker, 407 U.S. at 532. While the physical evidence and witnesses in this case
may still be available, the prejudice may be presumed if not persuasively rebutted. Barker,
407 U.S. at 534. As the court stated in Doggett:
                 Although negligence is obviously to be weighed more lightly than
                 a deliberate intent to harm the accused’s defense, it still falls on
                 the wrong side of the divide between acceptable and
                 unacceptable reasons for delaying a criminal prosecution once
                 it has begun. And such is the nature of the prejudice presumed
                 that the weight we assign to official negligence compounds over
                 time as the presumption of evidentiary prejudice grows. Thus,
                 our toleration of such negligence varies inversely with its
                 protractedness, cf. Arizona v. Youngblood, 488 U.S. 51
                 (1988), and its consequent threat to the fairness of the accused’s
                 trial.    Condoning prolonged and unjustifiable delays in
                 prosecution would both penalize many defendants for the state’s
                 fault and simply encourage the government to gamble with the
                 interests of criminal suspects assigned a low prosecutorial
                 priority. The Government, indeed, can hardly complain too loudly,
                 for persistent neglect in concluding a criminal prosecution
                 indicates an uncommonly feeble interest in bringing an accused
                 to justice; . . . .
Doggett, 505 U.S. at 657.
        In this case there is no evidence of persistent neglect. The case has proceeded slowly
since the time of the indictment due to the complexity of the matters involved and various
pretrial motions. For example, the defendants served subpoenas to many pharmaceutical
companies who vigorously resisted disclosure, requiring several delays before resolution.1
The defendants contend the government caused a several-month delay by failure to provide


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            The first motion to quash was filed on April 18, 2003. See Filing No. 72. However, a final resolution
of the motions, after a hearing, was not filed until June 15, 2004. See Filing No. 237. Further, the defendants
did not receive all of the responsive discovery until after that date.

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discovery under the schedule imposed by the court. Additional delays occurred when the
case was assigned to alternate federal judges. The defendants also joined in a motion for an
extension of time and stated they “needed a substantial period of time” to review voluminous
discovery. See, e.g., Filing No. 244; 208TR. 23.
       The defendants argue the government is to blame for the length of delay. However, the
government contends both parties are equally responsible for the delay due to the various
pretrial motions, complexity of the case, and amount of document discovery. The defendants
contend they are prejudiced in their anxiety and concern over the charges and the possibility
of the loss of exculpatory evidence. Specifically, the defendants argue the delay prevents
them from attaining particular pricing information from the pharmaceutical companies and
buying groups with whom they conducted business. The government contends the evidence
presented to show prejudice indicates prejudice is speculative and tenuous.
       The court finds neither party is primarily responsible for the period of delay between
the time of the indictment and now. Both parties have filed motions, sought extensions and
recognized the complexity of the issues and amount of discovery, which has slowed the
progression of this case toward trial. Further, the defendants have failed to show any
particular prejudice or impairment to the defense caused by the post-indictment delay. There
is no evidence of any intentional conduct by the government to delay trial in order to cause
prejudice to the defendants. Accordingly, balancing each of the relevant factors, the court
finds no Sixth Amendment violation of the defendants’ right to a speedy trial. Therefore, the
undersigned magistrate judge will recommend the defendants’ motion to dismiss based on
the defendants’ Sixth Amendment right to a speedy trial be denied.


C.     Materiality
       The defendants contend dismissal of the fraud counts (Counts 1-16) is required
because the indictment fails to allege the “own use” representations were material to the
pharmaceutical transactions at issue. Specifically, the defendants argue the indictment must
contain language alleging the “own use” representations were important to pharmaceutical
wholesalers and induced the pharmaceutical companies to sell the pharmaceuticals at “greatly


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reduced prices” relative to the absence of the own use representations. The defendants state
they are not, in this motion, arguing the alleged misrepresentations are immaterial, only that
the indictment fails to properly allege materiality. Finally, the defendants contend that because
the missing allegations constitute an element of the offense, an amendment would not cure
the indictment without depriving the defendants of the Grand Jury’s basic protections.
       “[T]he elements of mail and wire fraud are: (1) a scheme to defraud; (2) to get money
or property; (3) furthered by using interstate mail or wires. Although the mail and wire fraud
statutes do not define ‘scheme to defraud,’ case law demonstrates that the government is
required to prove the existence of a scheme to defraud, fraudulent intent on the part of the
defendants, and material misrepresentations or omissions made in furtherance of the
scheme.” United States v. United Imports Corp., 165 F. Supp. 2d 969, 971 (D. Neb. 2000)
(citing Neder v. United States, 527 U.S. 1, 20 (1999); United States v. Autuori, 212 F.3d
105, 115 (2nd Cir. 2000)). Materiality of falsehood is an element of the federal mail fraud and
wire fraud statutes. Id. at 4, 20-25. “In general, a false statement is material if it has a natural
tendency to influence, or [is] capable of influencing, the decision of the decisionmaking body
to which it was addressed.” Id. at 16 (citations and quotations omitted) (alteration in original).
“The failure to employ the word ‘material’ in the language of the indictment [ ] is not fatal.
Instead, an allegation of fraud in an indictment will be sufficient so long as the facts alleged in
the indictment warrant an inference that the false statement is material.” United States v.
Bieganowski, 313 F.3d 264, 285 (5th Cir. 2002) (citing United States v. Richards, 204
F.3d 177, 191 (5th Cir. 2000) (“In determining the sufficiency of the indictment, '[t]he law does
not compel a ritual of words.’” (quoting United States v. Wilson, 884 F.2d 174, 179 (5th Cir.
1989))).
       The government argues the indictment is sufficient because it describes the nature of
a “closed-door” pharmacy and describes the process by which “closed-door” pharmacies
receive discounted pharmaceuticals based on their representation of their own
pharmaceutical use for institutional clients, rather than for retail sales. Further, the indictment
alleges the lower contract prices are generally only made available to “closed-door”
pharmacies, but not to retail pharmacies or wholesale companies. Finally, the indictment


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alleges the defendants participated in a scheme for obtaining money and property by means
of false and fraudulent representations. The indictment states the defendants obtained
pharmaceuticals at greatly reduced prices by falsely representing their pharmacies were
“closed-door” pharmacies. The defendants were only able to represent their pharmacies as
“closed-door” by certifying they would use the pharmaceuticals for their “own-use” in order to
join buying groups.
       In this case there is sufficient information provided in the indictment to inform the
defendants of the charges against them. The allegations of fraud in the indictment are
sufficient, as the facts alleged in the indictment warrant an inference that the false statements
are material. The indictment is not so defective that it cannot be reasonably construed to
charge mail and wire fraud. Therefore, the undersigned magistrate judge will recommend the
motion to dismiss for failure to allege materiality be denied. Upon consideration,


       IT IS RECOMMENDED TO CHIEF JUDGE JOSEPH F. BATAILLON that:
       The defendants’ Motion to Dismiss Indictment (Filing No. 259) is denied.


                                          ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall be
filed with the Clerk of the Court within ten (10) days after being served with a copy of this
Report and Recommendation. Failure to timely object may constitute a waiver of any
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to file a brief in support of any objection may be deemed an abandonment of the
objection.
       DATED this 10th day of June, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge




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